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 1   Farimah Brown, City Attorney, SBN 201227
     Lynne S. Bourgault, Deputy City Attorney, SBN 180416
 2   BERKELEY CITY ATTORNEY’S OFFICE
     2180 Milvia Street, Fourth Floor
 3   Berkeley, CA 94704
     Telephone: (510) 981-6998
 4   Facsimile: (510) 981-6960
     Email: LBourgault@cityofberkeley.info
 5
     Attorneys for Defendant CITY OF BERKELEY
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 8                                 UNITED STATES DISTRICT COURT

 9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11   KIARA ROBLES,                                      No. 4:17-cv-04864 CW

12                   Plaintiff,

13   v.
                                                        DEFENDANT CITY OF BERKELEY’S
14   IN THE NAME OF HUMANITY, WE                        OPPOSITION TO PLAINTIFF’S MOTION
     REFUSE TO ACCEPT A FASCIST                         TO RESET HEARING
15   AMERICA (a.k.a. ANTIFA), CITY OF
     BERKELEY, ET AL.,
16
                     Defendants.
17

18

19          Plaintiff filed a “Motion to Reset Hearing.” See ECF Doc. # 53. Plaintiff does not identify

20   whether her motion is an administrative motion pursuant to Civil Local Rule 7-11, or a noticed

21   motion pursuant to Civil Local Rule 7-1. Her motion is another example of plaintiff’s counsel’s

22   failure to follow the Local Rules.

23          The substance of plaintiff’s motion is a request that the Court reschedule the June 26, 2018

24   hearing on the City of Berkeley’s Motion to Revoke Pro Hac Vice Status. On May 23, 2018, in

25   response to the Court’s Tentative Ruling on Motion to Revoke Pro Hac Vice (ECF Doc. # 49),

26   plaintiff filed a request for hearing. See ECF Doc. # 50. In this request, plaintiff took the

27   opportunity to accuse the Court of “extrajudicial bias” but failed to alert the Court to any upcoming

28   dates on which plaintiff’s counsel would not be available for the requested hearing. Plaintiff stated
                                                1
          DEFENDANT CITY OF BERKELEY’S OPPOSITION TO MOTION TO RESET HEARING
                                   Case No. 3:17-cv-04864 CW
       Case 4:17-cv-04864-CW Document 54 Filed 06/07/18 Page 2 of 2



 1   only that, “Mr. Klayman looks forward to briefing these issues and attending the hearing.” Id. at

 2   2:8.

 3            Now that the Court has set a hearing on the motion to revoke pro hac vice for June 26,

 4   2018, plaintiff’s counsel asks the Court to reset the hearing to another date prior to July 19, 2018,

 5   stating that he is “unavailable from June 25 to June 29 2018.” ECF Doc. 53 at 1:20-24.

 6            Plaintiff’s counsel has not met and conferred with counsel for the City regarding her

 7   availability for a hearing between July 2 and July 19, 2018. Counsel for the City is not available

 8   from July 9 through July 13, and has depositions scheduled in other cases during the first week of

 9   July.
10            The City’s position is that counsel for plaintiff should either attend the hearing on June 26,
11   2018, as scheduled, or meet and confer with the other parties in the case to determine a date when
12   all parties and the Court are available. If counsel for plaintiff is not available to attend the hearing
13   on June 26, 2018, the Court could also decide to simply adopt the tentative ruling without a
14   hearing.
15                                              CONCLUSION
16            For all of the foregoing reasons, the Court should deny plaintiff’s “Motion to Reset
17   Hearing.”
18

19    Dated: June 7, 2018                     Respectfully submitted:
20                                            BERKELEY CITY ATTORNEY’S OFFICE
21
                                              By:            /s/ Lynne S. Bourgault
22                                                  LYNNE S. BOURGAULT
                                                    Attorneys for Defendant
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             DEFENDANT CITY OF BERKELEY’S OPPOSITION TO MOTION TO RESET HEARING
                                      Case No. 3:17-cv-04864 CW
